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                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

  IN RE:                                         )     Case No. 22-
                                                 )
  Sung U. Yi,                                    )     Chapter 7
                                                 )
           Debtor.                               )


             STATEMENT REGARDING PAY STUBS (11 U.S.C. §521(a)(1))

           I, the undersigned Debtor, hereby certify that during the 60 day period preceding
  the filing of my bankruptcy petition in this case, I did not receive pay stubs from an
  employer because:


  o        I was unemployed; or

  x        I was self-employed; or

  o        I was unable to obtain information.



           This 29th day of March, 2022.

                                                        /s/
                                                 Sun U. Yi, Debtor


  Submitted by:

         /s/
  Soo J. Hong
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